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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                  CASE NO.: 1:20-cv-20101-KMW

  JENNIFER ARTEAGA,

          Plaintiff,

  v.

  DUTY FREE RETAIL GROUP, LLC,
  and SANFREE OF MIAMI, LLC d/b/a
  ONI ESSENCE,

        Defendants.
  _________________________________/

               DEFENDANTS’ AGREED MOTION FOR EXTENSION OF TIME
                     TO RESPOND TO PLAINTIFF’S COMPLAINT

          Defendants, DUTY FREE RETAIL GROUP, LLC and SANFREE OF MIAMI, LLC, d/b/a

  ONI ESSENSE (“Defendants”), by and through their undersigned counsel, hereby file their

  Agreed Motion for Extension of Time to Respond to Plaintiff’s Complaint, and in support thereof

  state as follows:

       1. On or about January 9, 2020, Plaintiff filed her Complaint.

       2. Defendants’ Response to Plaintiff’s Complaint is due on February 10, 2020.

       3. Undersigned counsel was just retained and requires additional amount of time to prepare

          and file Defendants’ Response to the Complaint.

       4. Accordingly, Defendants respectfully request a three (3) week extension of time, up to and

          including March 2, 2020, to file their Response to the Complaint.

       5. Undersigned counsel has conferred with Plaintiff’s counsel and Plaintiff’s counsel agrees

          with this request for extension.



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      6. This request for an extension of time is made in good faith, and not for any dilatory

          purpose.

          WHEREFORE, Defendants respectfully request that the Court enters an Order granting a

  three (3) week extension of time, up through and including March 2, 2020, to respond to Plaintiff’s

  Complaint.

                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 7th day of February 2020, I filed this document with the

  Clerk of the Court using the CM/ECF system which will automatically send a notice of electronic

  filing to all counsel of record.

                                                 Respectfully submitted,

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